Case 1-25-42004-jmm Docl FileadQO/izfizo Entered Usiclics OF'40700

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United States Bankruptcy Court for the: ve: BAL KR] af .
EASTERN Di Tf ICT oF
Eastern District of NY NOW YORK
(State)

Case number (if known): Chapter 2023 JUL 2 D Ghechit pig is an

amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, instructions for Bankruptcy Forms for Non-Iindividuals, is available.

a
1. Debtor’s name Maureen Williams AssoinioUd - SuNeise AcoulsSiTIew WC
2. All other names debtor used
in the last 8 years
Include any assumed names,
trade names, and doing business
as names
3. Debtor's federal Employer 47- 2085731
Identification Number (EIN) TO
4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
579 Franklin Avenue
Number Street Number Street
P.O. Box
Brooklyn NY 11228
City State ZIP Code City State ZIP Code
Location of principal assets, if different from
principal place of business
Kings
County
Number Street
City State ZIP Code

5. Debtor’s website (URL)

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Debtor

Case number (if known),

Name

6. Type of debtor

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor’) must
check the second sub-box.

Official Form 201

4 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
C) Partnership (excluding LLP)
CJ Other. Specify:

A. Check one:

CJ Health Care Business (as defined in 11 U.S.C. § 101(27A))
Yi Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Q) Railroad (as defined in 11 U.S.C. § 101(44))

LL) Stockbroker (as defined in 11 U.S.C. § 101(53A))

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))

OQ Clearing Bank (as defined in 11 U.S.C. § 781(3))

44 None of the above

B. Check aif that apply:

Q) Tax-exempt entity (as described in 26 U.S.C. § 501)

CU) investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

CJ investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www.uscourts.gov/four-digit-national-association-naics-codes .

Check one:

{4 Chapter 7
Q Chapter 9
Lj Chapter 11. Check all that apply.

CJ The debtor is a smail business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1}(B).

L) The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

Qa plan is being filed with this petition.

Q Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

LJ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

CJ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

Qj Chapter 12

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor Case number (if known)

Name

9. Were prior bankruptcy cases [No
filed by or against the debtor

within the last 8 years? Yes. District When
MM/ DD/YYYY

If more than 2 cases, attach a
separate list. District When

MM/ DD/YYYY

10. Are any bankruptcy cases 4d No
pending or being filed by a
business partner or an Ql Yes. Debtor
affiliate of the debtor? District

List all cases. If more than 1,
attach a separate list. Case number, if known

41. Why is the case filed in this Check all that apply:
district?

Case number

Case number

Relationship

When
MM / DD /YYYY

4d Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other

district.

OA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor ownorhave [No
possession of any real
property or personal property

LJ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

that needs immediate Why does the property need immediate attention? (Check all that apply.)

attention?

CD it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

LL) It needs to be physically secured or protected from the weather.

CJ It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related

assets or other options).

LJ Other

Where is the property?

Number Street

City

Is the property insured?

C] No

L) Yes. insurance agency

State ZIP Code

Contact name

Phone

a Statistical and administrative information

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy

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Debtor

Name

Case number (if known),

13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

15. Estimated assets

16. Estimated liabilities

Check one:

(J Funds will be available for distribution to unsecured creditors.

4d After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

id 1-49

UI 50-99
CL) 100-199
LJ 200-999

C) $0-$50,000

C3 $50,001-$100,000
CJ $100,001-$500,000
LJ $500,001-$1 million

CJ $0-$50,000

CJ $50,001-$100,000
CI $100,001-$500,000
CI $500,001-$1 million

C) 1,000-5,000
CJ 5,001-10,000
LJ 10,001-25,000

LI $1,000,001-$10 million

{J $10,000,001-$50 million
C3 $50,000,001-$100 million
C3 $100,000,001-$500 million

C) $1,000,001-$10 million

C3 $10,000,001-$50 million
CI $50,000,001-$100 million
C2 $100,000,001-$500 million

CI 25,001-50,000
LJ 50,001-100,000
UO) More than 100,000

C) $500,000,001-$1 billion

C3 $1,000,000,001-$10 billion
LI $10,000,000,001-$50 billion
(J More than $50 billion

(2 $500,000,001-$1 billion

(2 $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
(2 More than $50 billion

ss Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 7/2 6/2023

j, Him TDD TYYY
A |
aif

Maureen Assoumou

Printed name

x 4 wo

we

_ APUG t
Signature of autHorized representative of debtor

Tite president

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
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Debtor

Name

18. Signature of attorney

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x

Case number (if known)

Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Voluntary Petition for Non-Individuals Filing for Bankruptcy

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Debtor 1 New Sunrise Acquisitions LLC

First Name Middle Name

Debtor 2

Last Name

(Spouse, if filing) First Name Middle Name
United States Bankruptcy Court for the:

Case number

District of

Last Name

Official Form 106A/B

Schedule A/B: Property

LJ Check if this is an
amended filing

12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

REE vescrive Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

CI No. Go to Part 2.
wi Yes. Where is the property?

11, 1022 Linden Blvd

Street address, if available, or other description

Brooklyn NY 11212
City State ZIP Code
Kings

County

If you own or have more than one, list here:

1.2.

Street address, if available, or other description

City State ZIP Code

County

Official Form 106A/B

What is the property? Check all that apply.
C) Single-family home

wf Duplex or multi-unit building

CL) Condominium or cooperative

LJ) Manufactured or mobile home

LJ Land

CJ investment property

C} Timeshare

CJ other

Who has an interest in the property? Check one.

LC) Debtor 1 only

C} Debtor 2 only

CJ Debtor 1 and Debtor 2 only

LJ) At least one of the debtors and another

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $550,000.00

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

LJ check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

What is the property? Check all that apply.
C) single-family home

U Duplex or multi-unit building

CY Condominium or cooperative

C) Manufactured or mobile home

Q) Land

C) investment property

CD Timeshare

C) Other

Who has an interest in the property? Check one.
of Debtor 1 only
CL) Debtor 2 only

L} Debtor 1 and Debtor 2 only
C) At least one of the debtors and another

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current vaiue of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

LL) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as focal

property identification number:

Schedule A/B: Property

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Debtor1 New Sunrise Acquisitions LLC

Docl FiledO/fefices Entered Uli2fizs UY!40100

First Name Middle Name

1.3.

Last Name

Street address, if available, or other description

City State

ZIP Code

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ..................:ccccecseee eee eee eee e eae eee eaten nen e are e eee aeenneenaneeneas >

BEBE vescrite Your Vehicles

What is the property? Check all that apply.
QO Single-family home

QQ Duplex or multi-unit building

CY Condominium or cooperative

(Q) Manufactured or mobile home

CJ Land

LJ Investment property

LJ Timeshare

C3 other

Who has an interest in the property? Check one.
C) Debtor 1 only

LJ Debtor 2 only

J Debtor 1 and Debtor 2 only

CJ At teast one of the debtors and another

Case number (if known),

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

L] Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

s 550,000.00

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Wi No
QC) Yes

3.1, Make:
Model:
Year:
Approximate mileage:

Other information:

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

Official Form 106A/B

Who has an interest in the property? Check one.
C) Debtor 1 only

LJ Debtor 2 only

L) Debtor 1 and Debtor 2 only

L} At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
CQ Debtor 4 only

CJ Debtor 2 only

C) Debtor 1 and Debtor 2 only

() At least one of the debtors and another

CI Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

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New Sunrise Acquisitions LLC

Who has an interest in the property? Check one.

Debtor 1
First Name Middle Name Last Name
3.3. Make:
Model: CI Debtor 4 only
L) Debtor 2 only
Year:

Approximate mileage:

Other information:

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

C) Debtor 1 and Debtor 2 only
C] At least one of the debtors and another

C] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

C] Debtor 1 only

L] Debtor 2 only

LL] Debtor 1 and Debtor 2 only

C) At teast one of the debtors and another

L) Check if this is community property (see
instructions)

Case number (if known),

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

i No

C) Yes

4.1. Make:
Model:
Year:

Other information:

If you own or have more than one, list here:

4.2. Make:
Model:

Year:

Other information:

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

Who has an interest in the property? Check one.
C) Debtor 1 only

QC) Debtor 2 only

C] Debior 1 and Debtor 2 only

(J At least one of the debtors and another

CJ Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

L) Debtor 1 only

C) Debtor 2 only

LI} Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C) Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

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Debtor 1 New Sunrise Acquisitions LLC Case number (i known),

First Name Middle Name Last Name

ee Describe Your Personal and Household Items

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

Do you own or have any tegal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

WI No

CJ Yes. Describe......... $

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

No
C) Yes. Describe.......... §

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
(A No

CI Yes. Describe.......... 5

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

W No
C) Yes. Deseribe.......... $

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

\ No
() Yes. Describe.......... $

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

{2 No
C) Yes. Describe.......... $

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

id No
C) Yes. Describe........... $

13. Non-farm animals
Examples: Dogs, cats, birds, horses

4 No
C] Yes. Describe........... $

14. Any other personal and household items you did not already list, including any health aids you did not list

44 No
U) Yes. Give specific §
information. ..............
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $
for Part 3. Write that number here o.oo. cccecccssccescssssssssesssssececsnseccnseesssseesnsessrssssnnnseseesneeeceeseersnressenseesanatessnesssneessaestnass >

Official Form 106A/B Schedule A/B: Property page 4
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Debtor 1 New Sunrise Acquisitions LLC Case number (if known)
First Name Middle Name Last Name
ea Describe Your Financial Assets
Do you own or have any iegal or equitable interest in any of the following? cur rent value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
W No
O YES ooo cccccesccescesesecsccccaceeseseceseesssessusceacucseacesaeesceassneeeessteeesaesessneesseeesensseseesciaeesesesesasecsasesaeeseeeeneneaessessaaaeaes Cash: oooccccccccccccseseeee $
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
W No
DD Yes cee Institution name:
17.1. Checking account: $
17.2. Checking account: $
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

Wi No

CY YES eccccccee Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

Wi No Name of entity: % of ownership:
CJ Yes. Give specific 0% %
information about
them... ee 0% %
0% %

Official Form 106A/B Schedule A/B: Property page 5
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Debtor 4 New Sunrise Acquisitions LLC Case number (if known)

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiabie instruments are those you cannot transfer to someone by signing or delivering them.

WY No

LL] Yes. Give specific  !ssuer name:
information about

21. Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

W No
C) Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

VA No

CD Yes occ Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
Wi No
DD VES ooieicccsssssese Issuer name and description:
$
$

Official Form 106A/B Schedule A/B: Property page 6
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Debtor 1 New Sunrise Acquisitions LLC Case number (if known),

First Name Middle Name Last Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
WZ No
Ves i ccccccccccetcsssseeeeeeeee

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

W No

CL) Yes. Give specific
information about them.... $

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

WI No

Cl Yes. Give specific
information about them.... $

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Wi No
C) Yes. Give specific
information about them.... $
Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you

WI No

LJ Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax years. oo... ee

Federal:

Local:

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

WI No

CI) Yes. Give specific information..............

Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
W No
QL) Yes. Give specific information............... ;

Official Form 106A/B Schedule A/B: Property page 7
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Debtor 1 New Sunrise Acquisitions LLC Case number (if known),

First Name Middle Name Last Name

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

W No

C) Yes. Name the insurance company

; Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ..

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

4 No

CL) Yes. Give specific information..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

A No

CU] Yes. Describe each claim...

34. Other contingent and untiquidated claims of every nature, including counterciaims of the debtor and rights
to set off claims

4 No

Q] Yes. Describe each claim. 0.0.0.0...

35. Any financial assets you did not already list

2 No

L) Yes. Give specific information............ 5

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that mumber here oo... ce cceseeeeeseeseseeccceeacsceeseesevenscaenesesssseeseacanesesscsssssevevevassessseaasessssneseesscsnanesetetenas > $. 0.00

Ca Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
(0 No. Go to Part 6.
LI Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

38. Accounts receivable or commissions you already earned

WZ No
C) Yes. Describe.......,

$
39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
A No
C) Yes. Describe....... 5

Official Form 106A/B Schedule A/B: Property page 8
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Debtor 1 New Sunrise Acquisitions LLC Case number (if known),

First Name Middle Name Last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

wi No

C} Yes. Describe....... $
41. Inventory

ll No

U) Yes. Describe........ $

42. Interests in partnerships or joint ventures
W No
L) Yes. Describe...... Name of entity: % of ownership:
% 3

% $

% $

43. Customer tists, mailing lists, or other compilations
4 No

UJ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

LJ No
C) Yes. Describe........ 0.00

44. Any business-related property you did not already list
Wd No

C) Yes. Give specific

information .........

APF Ff Ff Ff HF

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0.00

for Part 5. Write that number here o.oo... ccccceeccsccecsseessssseeceensessssssssssssssssscsstesssnsseesssseecesnssesecasesstavecsussesesnsneceeseessiseeesticteeauees >

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
WA No. Go to Part 7.
C) Yes. Go to line 47.
Current value of the
portion you own?
Do not deduct secured claims

or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
Wd No
DD Ves ool
$

Official Form 106A/B Schedule A/B: Property page 9
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Debtor1 | New Sunrise Acquisitions LLC Case number (known)

First Name Middle Name Last Name

48. Crops—either growing or harvested

Wi No

CL] Yes. Give specific
information. ............. $

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

W No

50. Farm and fishing supplies, chemicals, and feed

1 No
CD VES coi cccccsccseccesseees

51. Any farm- and commercial fishing-related property you did not already list
W No

C] Yes. Give specific
information. ............ $

52. Add the dollar value of alf of your entries from Part 6, including any entries for pages you have attached $

for Part 6. Write that mumber Were oo... ccccccccccscccsccessesssesssecssessessssssvcaseesscsssesseaueesuecstescasseanesssecssseetessesssnteeniesassenesrtsnessesceeseaeae >

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

W No

C) Yes. Give specific
information. ............

54. Add the dollar value of all of your entries from Part 7. Write that number here 0... eee eee tsetse eens > $

ee ist the Totals of Each Part of this Form

55. Part 4: Total real estate, Lime 2... cccceecccceeeccsseseesssssecesessssseccesnsuseccenssseecesssesssnsateesessnmnssseseesenneresstsoiiicsiauuiiesessaiesesssneeseeeenneesesie > gs —i-00
56. Part 2: Total vehicles, line 5 $ 0.00

57. Part 3: Total personal and household items, line 15
58. Part 4: Total financial assets, line 36 $. 0.00
59. Part 5: Total business-related property, line 45 $
60. Part 6: Total farm- and fishing-related property, line 52 $

61. Part 7: Total other property not listed, line 54 +5 0.00

62. Total personal property. Add lines 56 through 61. ................... $ 0.00 Copy personal property total > +3 0.00

63. Total of all property on Schedule A/B. Add line 55 + lin@ 62.......... eee c cece secesee ees eneceneeseeneenneeceteetenssneartneeasensteeteteanaes $ 550,000.00

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Case 1-25-42004-jmm Docl FileadQO/izfizo Entered Usiclics OF'40700

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

-X
In re: Case No.
Chapter
Debtor(s)
xX
AFFIRMATION OF FILER(S

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

Name of Filer: SUVRISL AchuysTTToN tLe

Address: $79 FRANKLIN Ave, SODKLYR MY 11232
Email Address: scheltea &) br DwAstene yl» Low ?

Phone Number: (397 _) 4¢¢¥ 3637

Name of Debtor(s): F’°S FU&ND/INY

CHECK THE APPROPRIATE RESPONSES:

ASSISTANCE PROVIDED TO DEBTOR(S):

7#¥
\~ IPREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING

THE FOLLOWING:

7 DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE RECEIVED:
I WAS NOT PAID.

I WAS PAID.
Amount Paid: $

I/We hereby affirm the information above under the penalty of perjury.

Late ne Le CLONM, EC \

Filer’s Signature

Dated: Z 37 Zs 23

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CREDITOR
Creditor: Peer Street Funding

Address:
2121 Park PI Ste 250,
E! Segundo, California, 90245, United States

Nature of Trade: Lender

Amount of Claim: Unknown
